     Case 4:15-cr-06049-EFS   ECF No. 477-1   filed 07/20/17   PageID.1797 Page 1 of 1

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                     IN THE UNITED STATES DISTRICT COURT
6
7                  FOR THE EASTERN DISTRICT OF WASHINGTON
8
     UNITED STATES OF AMERICA,  )
                                ) NO. CR-15-6049-EFS
9
10                    Plaintiff,)
         vs.                    )
                                ) ORDER GRANTING
11
12                              ) DEFENDANT’S MOTION TO
                                ) EXPEDITE MOTION FOR
                                ) EXTENSION OF TIME TO FILE
13
14   MIGUEL REYES GARCIA,       )
                                  (PROPOSED)
                     Defendant. )
                                )
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17
18           Before the Court is Defendant’s Motion to Expedite (Ct. Rec.___).
     For the reasons set forth in the Defendant’s motion, IT IS HEREBY
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     ORDERED that the Defendant’s Motion to Expedite (CT. Rec. __) is
21
22   GRANTED. The district court executive is directed to enter this order
23   and provide copies to counsel.
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             DATED this ____ day of ______, 2017.
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                                         EDWARD F. SHEA
                                         UNITED STATES JUDGE
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     ORDER
